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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MIYAH LACY,                                      )
                                                 )
               Plaintiff,                        )
                                                 )           No. 21-cv-06783
       v.                                        )
                                                 )           Judge Andrea R. Wood
CITY OF CHICAGO, et al.,                         )
                                                 )
               Defendants.                       )

                            MEMORANDUM OPINION AND ORDER

       After Plaintiff Miyah Lacy failed to pay three traffic citations she owed to Defendant City

of Chicago (“City”), her vehicle was first immobilized, then impounded, and ultimately sold to

Defendant URT United Road Towing, Inc. (“URT”) for well below market value. At the same

time, Lacy received no payment or credit against her debts as a result of her vehicle’s sale. Lacy

contends that certain of the City’s practices around disposing of impounded vehicles violate the

Fifth Amendment’s Takings Clause, as well as state and local law. For that reason, Lacy brought

this putative class action against Defendants seeking damages, injunctive relief, and declaratory

relief. The City and URT each have filed a motion to dismiss Lacy’s claims pursuant to Federal

Rules of Civil Procedure 12(b)(1) and 12(b)(6). (Dkt. Nos. 42, 44.) For the reasons that follow,

the City’s motion is granted in part and denied in part, and URT’s motion is granted.

                                        BACKGROUND

       For the purposes of the motions to dismiss, the Court accepts all well-pleaded facts in the

First Amended Class Action Complaint (“FAC”) as true and views those facts in the light most
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favorable to Lacy as the non-moving party. Killingsworth v. HSBC Bank Nev., N.A., 507 F.3d

614, 618 (7th Cir. 2007). The FAC alleges as follows.

        Each year, the City tows and impounds tens of thousands of vehicles because of unpaid

traffic ticket debt. (FAC ¶ 2, Dkt. No. 34.) Pursuant to the Municipal Code of Chicago (“MCC”),

when vehicle owners have two tickets that are unpaid for more than a year or three tickets that

are unpaid at any time, the owners are subject to a series of escalating enforcement actions. (Id.

¶¶ 22–26.) The City begins by immobilizing, or “booting,” the car. (Id. ¶¶ 22–23.) Before 2019,

the vehicle’s owner had 24 hours after their vehicle’s immobilization to pay their outstanding

ticket debt and a $100 immobilization fee, or else their vehicle would be towed and impounded.

(Id. ¶ 23.) In 2019, the City amended the MCC to permit vehicle owners to obtain release of their

immobilized vehicle by making a downpayment on their debt and entering into a payment plan

with respect to the remaining sum. (Id. ¶ 24.) Next, the City tows and impounds the car, adding a

$150 tow fee and daily fees of $20 to $35 for storage. (Id. ¶¶ 30–31.) If the owner does not

timely pay the balance (or enter into a payment plan), the City takes possession of the vehicle

and can add it to its fleet, auction it off, or sell it for scrap. (Id. ¶¶ 32–35.) Typically, the City

sells the car for scrap for around $200. (Id. ¶¶ 44–45.) The owner receives no compensation or

credit against their debt for the disposition of their vehicle. (Id. ¶ 48.)

        The City contracts with URT to provide towing and automobile pound management

services. (Id. ¶¶ 40, 54.) When a vehicle’s owner cannot afford to pay for its release, or the

vehicle otherwise goes unclaimed, the City often sells it to URT at scrap value. (Id. ¶ 44.) Those

sales are profitable to the City; in 2017, the City received about $4.6 million from selling

unclaimed vehicles to URT. (Id. ¶ 51.) Likewise, URT benefits from the sales because, even




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though the vehicles are sold to URT as scrap, URT is nonetheless able to resell the vehicles for

significantly more than what it paid to the City. (Id. ¶ 53.)

        Prior to December 2019, Lacy had received three traffic citations from the City that she

had not yet paid. (Id. ¶ 56.) Thus, on December 6, 2019, Lacy’s 2003 Honda Odyssey was

immobilized while parked on a street nearby her workplace. (Id. ¶ 57.) Because Lacy was unable

to pay the approximately $1,200 in outstanding ticket debt that the City demanded in exchange

for release of the immobilization device, her vehicle was towed and impounded two days later.

(Id. ¶¶ 58–59.) The City mailed a notice of vehicle impoundment to Lacy on December 12, 2019.

(Id. ¶¶ 60, 62.)

        Upon impounding an immobilized vehicle, the City must send notice of the vehicle’s

impoundment to its registered owner. (Id. ¶ 25.) That notice is required to inform the registered

owner that they have 21 days to do one of the following: claim the vehicle; request a post-

immobilization and post-towing hearing; or request a 15-day extension. (Id.) In the event that the

vehicle’s owner does not take any of those actions within 21 days of the date of the notice, the

MCC provides that the vehicle may be sold or “otherwise disposed of in the manner proscribed

by Section 4-208 of the Illinois Vehicle Code.” (Id. ¶ 26 (quoting MCC § 9-100-120(f)).) That

referenced provision, 625 ILCS 5/4-208(a), requires that an additional notice be sent to the

registered owner of an impounded vehicle as a precondition to the City’s ability to dispose of it.

(Id. ¶¶ 18–21.) Similarly, the MCC requires that the City provide two notices before disposing of

unclaimed impounded vehicles. (Id. ¶ 33 (citing MCC § 9-92-100(a)).) Yet Lacy received no

additional notice after the initial December 12, 2019 notice of impoundment. (Id. ¶ 62.)

Moreover, although Lacy contacted the City on December 31, 2019, to request a 15-day

extension of her deadline to secure the release of her vehicle, she claims that her request was not




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honored. (Id. ¶¶ 64, 66.) Rather, before the 15-day extension period had elapsed, Lacy learned

through the City’s website that her vehicle had been disposed of. (Id. ¶ 66.) Specifically, the City

disposed of Lacy’s vehicle by selling it to URT for the vehicle’s scrap value, even though her

vehicle’s actual value substantially exceeded the scrap price. (Id. ¶¶ 67–68.)

        According to Lacy, the City’s actions in impounding and disposing of her vehicle without

following the proper procedures violated not only the relevant state and local laws, but also her

rights under the U.S. Constitution. Lacy’s FAC therefore asserts nine1 claims on behalf of herself

and a putative class. First, Lacy alleges that the City violated Section 4-208 of the Illinois

Vehicle Code, 625 ILCS 5/4-208, by disposing of her vehicle without sending her a second

notice (Count II). Relatedly, Lacy contends that the City’s failure to provide a second notice also

violated Chicago’s own ordinance, namely MCC section 9-92-100 (Count III). She also requests

that the Court declare that the City’s policy or practice of disposing vehicles without issuing an

additional notice violates 625 ILCS 5/4-208 and MCC section 9-92-100 (Count VI). Next, Lacy

contends that the City violated MCC section 9-100-120(f) when it failed to honor her request for

a 15-day extension (Count IV), seeks a declaratory judgment to that effect (Count IX), and asks

that the Court issue a writ of mandamus directing the City to honor all 15-day extension requests

(Count V). Lacy also asserts two claims pursuant to 42 U.S.C. § 1983, alleging that the City

violated the Takings Clause of the Fifth Amendment to the U.S. Constitution. One of those

claims arises out of the City’s practice of disposing of impounded vehicles without issuing a

second notice (Count VII) and the other arises out of the City’s practice of disposing of




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 Originally, Lacy’s FAC asserted a tenth claim under 42 U.S.C. § 1983 based on an alleged violation of
her procedural due process rights (Count I), but Lacy has since withdrawn that claim.



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impounded vehicles without honoring the owner’s request for a 15-day extension (Count VIII).

Finally, Lacy asserts an unjust enrichment claim against both the City and URT (Count X).

                                             DISCUSSION

          Together, Defendants’ motions seek dismissal of the FAC in its entirety pursuant to Rule

12(b)(6). In addition, the City argues that certain of Lacy’s claims fail for lack of standing and

are subject to dismissal pursuant to Rule 12(b)(1). The Court begins by addressing the City’s

standing arguments before proceeding to determine whether Lacy has sufficiently pleaded her

claims.

          I.     Standing

          Standing is an essential component of Article III’s limitation of federal courts’ judicial

power only to cases or controversies. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992).

“The doctrine limits the category of litigants empowered to maintain a lawsuit in federal court to

seek redress for a legal wrong.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016). There are

three elements that constitute the “irreducible constitutional minimum” of standing. Lujan, 504

U.S. at 560. A “plaintiff must have (1) suffered an injury in fact, (2) that is fairly traceable to the

challenged conduct of the defendant, and (3) that is likely to be redressed by a favorable judicial

decision.” Spokeo, 578 U.S. at 338 (internal quotation marks omitted). Where a plaintiff does not

have Article III standing, a federal district court lacks subject-matter jurisdiction to hear their

claims. Simic v. City of Chicago, 851 F.3d 734, 738 (7th Cir. 2017).

          A defendant may raise either a facial or factual challenge to a plaintiff’s standing. Silha v.

ACT, Inc., 807 F.3d 169, 173 (7th Cir. 2015). A facial challenge requires “only that the court

look to the complaint and see if the plaintiff has sufficiently alleged a basis of subject matter

jurisdiction.” Apex Digit., Inc. v. Sears, Roebuck & Co., 572 F.3d 440, 443 (7th Cir. 2009). By

contrast, “a factual challenge lies where the complaint is formally sufficient but the contention is


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that there is in fact no subject matter jurisdiction.” Id. at 444 (internal quotation marks omitted).

Where a defendant mounts a factual challenge, “the court may look beyond the pleadings and

view any evidence submitted to determine if subject matter jurisdiction exists.” Silha, 807 F.3d

at 173. Once a defendant has proffered evidence calling the plaintiff’s standing into question,

“the presumption of correctness that [is] accord[ed] to a complaint’s allegations falls

away . . . and the plaintiff bears the burden of coming forward with competent proof that

standing exists.” Apex Digit., 572 F.3d at 444 (internal quotation marks and citations omitted).

       Here, the City raises a factual challenge to Lacy’s standing to assert her claims predicated

on the City’s alleged failure to honor 15-day extension requests. It also contends that Lacy’s

allegations are facially insufficient to plead her standing with respect to her claims seeking

injunctive and declaratory relief.

               A.      15-Day Extension Claims

       Under MCC section 9-100-120(f), the City is required to give notice to the owner of a

vehicle that has been impounded after previously being immobilized that they must claim their

vehicle (i.e., pay their outstanding ticket debt) within 21 days of the date of that notice. However,

that provision also provides that “the registered owner may request . . . one extension of 15 days

before a vehicle is sold or otherwise disposed of.” MCC § 9-100-120(f). Lacy alleges in the FAC

that she requested such an extension on or about December 31, 2019, yet “[p]rior to the

expiration of the mandatory 15-day extension, [she] discovered through the City’s website that

her vehicle had been sold or otherwise disposed of.” (FAC ¶ 66.)

       In response to Lacy’s allegation, the City comes forward with evidence that it claims

proves that Lacy’s 15-day extension request was, in fact, honored, such that she suffered no

injury-in-fact traceable to the City’s supposed refusal to honor her request. Specifically, the City

has submitted the declaration of Robert Dyckman, the City employee responsible for overseeing


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the operation of the City’s automobile pounds. That declaration states that the City mailed

Lacy’s notice of impoundment on December 13, 2019. (Dyckman Decl. ¶ 6, Dkt. No. 43-1.)

Without an extension request, Lacy would have had 21 days, or until January 3, 2020, to claim

her vehicle or request an extension. But Lacy did request an extension on December 31, 2019

(id. ¶ 7), and, presumably, the requested extension would run only after the expiration of the

initial 21-day period—January 3, 2020. Thus, given Lacy’s extension request, the City could not

sell or dispose of Lacy’s vehicle prior to January 18, 2020.

        According to Dyckman, he received and processed Lacy’s extension request. (Id. ¶¶ 7–9.)

And attached to his declaration is the email chain in which he confirms that Lacy’s vehicle

would be placed on hold due to her extension request.2 (Ex. 2 to Dyckman Decl., Dkt. No. 43-1.)

Dyckman further states that Lacy’s vehicle remained at the pound through January 22, 2020, and

then was disposed of as of that date. (Dyckman Decl. ¶¶ 10–11.) Despite being confronted with

the City’s evidence showing that Lacy’s extension request was fully honored, Lacy comes

forward with no evidence of her own. Instead, she simply parses certain language in the City’s

evidence in an effort to show that it fails to call into question her allegations supporting standing.

To provide further clarity, the City’s reply brief attaches a second declaration from Dyckman in

which he definitively states that Lacy’s “vehicle was sold to [URT] on . . . January 22, 2020” and

“left the pound after [that] date.” (Suppl. Dyckman Decl. ¶¶ 6–7, Dkt. No. 55-1.)




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  The Court notes that the email evidence shows that the City intended to honor Lacy’s extension only
through January 15, 2020, suggesting that the extension would run not from the expiration of the 21-day
period but from the date of Lacy’s request. Had the vehicle been disposed of after January 15, 2020, but
before January 18, 2020, Lacy may well have been able to show that her extension request was not
honored. However, this is not an argument that Lacy makes and there is no evidence suggesting that her
vehicle was disposed of during that period.



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       The Court finds that the City’s evidence sufficiently raises a factual question as to Lacy’s

standing so as to shift the burden to Lacy to submit her own proof of her standing. Again, Lacy

has submitted no evidence on the issue and stands on the FAC’s allegation that she learned

through the City’s website of her vehicle’s disposal on some unspecified date prior to the

expiration of the 15-day period. To the extent the apparently erroneous representation as to her

vehicle’s sale date on the City’s website’s could establish standing, Lacy would at least need

proof of that representation to rebut the City’s factual attack. Absent such proof, Lacy has no

standing to assert her claims based on the City’s failure to honor 15-day extension requests. See,

e.g., NLFC, Inc. v. Devcom Mid-Am., Inc., 45 F.3d 231, 237 (7th Cir. 1995) (affirming dismissal

for lack of subject-matter jurisdiction where the defendant raised a factual challenge and the

plaintiff chose to rely only on its controverted jurisdictional allegations). Accordingly, Counts

IV, V, VIII, and IX of the FAC are dismissed.

               B.      Injunctive and Declaratory Relief

       The City also contends that Lacy lacks standing to seek injunctive relief and a declaratory

judgment as to the City’s alleged failure to dispose of her vehicle without providing her a second

notice following its impoundment. To demonstrate standing for prospective injunctive relief,

Lacy “must face a real and immediate threat of future injury as opposed to a threat that is merely

conjectural or hypothetical.” Simic, 851 F.3d at 738 (internal quotation marks omitted). “Unlike

with damages, a past injury alone is insufficient to establish standing for purposes of prospective

injunctive relief: ‘Past exposure to illegal conduct does not in itself show a present case or

controversy regarding injunctive relief if unaccompanied by any continuing, present adverse

effects.’” Id. (quoting City of Los Angeles v. Lyons, 461 U.S. 95, 102 (1983)). She must similarly

show “a realistic danger of sustaining a direct injury” to seek declaratory relief. Babbitt v. United

Farm Workers Nat’l Union, 442 U.S. 289, 298 (1979).


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       Here, the City claims that Lacy’s injury is entirely in the past and the prospect of her

suffering a future injury is too speculative to support either injunctive or declaratory relief. On

the other hand, Lacy asserts that she faces an immediate prospect of future injury given that the

traffic citations underlying the impoundment and disposal of her vehicle remain unpaid. (FAC

¶ 71.) In such circumstances, the City “will keep the registered owner on the City’s

immobilization list” such that, “until the registered owner of a vehicle that the City disposed of

pays the entire amount of allegedly outstanding traffic citations, the registered owner continues

to face the threat that the City will immobilize, impound, and dispose of any additional vehicles

that the individual owns.” (Id. ¶ 49.)

       As the City acknowledges, this Court has already addressed this issue in ruling on the

motions to dismiss in Walker v. City of Chicago, No. 20-cv-01379, 2022 WL 17487813 (N.D. Ill.

Dec. 6, 2022), another case before this Court that is related to Lacy’s case because it challenges

the same City practices as to the additional or second notice issue. In Walker, this Court found

that one of the two plaintiffs, Walker, had standing to seek both injunctive and declaratory relief

regarding the City’s failure to provide a second notice prior to disposing of her vehicle based on

her allegation that she “obtained a new vehicle but still has three unpaid tickets.” Id. at *8.

Consequently, the Court determined that Walker faced a realistic and immediate threat of future

injury since the City could immobilize, impound, and scrap her new vehicle. By contrast, this

Court found that the other plaintiff, Walawski, lacked standing to assert claims for declaratory

and injunctive relief because he failed to “offer[] a compelling theory for why [he] is likewise

subject to an immediate threat of future injury.” Id. at *9.




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        The City seems to accept that the Court’s determination in Walker finding standing as to

Walker controls here,3 without apprehending that Lacy’s circumstances, at least as pleaded, are

more comparable to Walawski, who was found to lack standing. While not explicitly stated in

the Court’s opinion, the dispositive factor differentiating Walker from Walawski was Walker’s

allegation that she had obtained a new vehicle that was at immediate risk of being impounded

due to her outstanding ticket debt. Lacy, however, is in the same position as Walawski, because

the FAC does not allege that Lacy has obtained a new vehicle to replace the 2003 Honda

Odyssey that the City impounded and subsequently sold for scrap. Consequently, any threatened

injury Lacy faces is overly speculative, since it depends not only on Lacy purchasing a new

vehicle but also making that purchase while some or all of her current ticket debt remains

outstanding. The fact that such eventualities must come to pass before Lacy can again be injured

by the City’s deficient notice practices demonstrates that her risk of injury is not sufficiently

immediate to give her standing to seek injunctive and declaratory relief. For that reason, Count

VI of the FAC is dismissed along with its request for injunctive relief.

        II.     Rule 12(b)(6)

        To survive a Rule 12(b)(6) motion, “a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). This

pleading standard does not necessarily require a complaint to contain detailed factual

allegations. Twombly, 550 U.S. at 555. Rather, “[a] claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw the reasonable inference that the


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  In its opening brief, the City acknowledges that this Court rejected its declaratory and injunctive relief
standing arguments as to one of the Walker plaintiffs but says it advances the same arguments against
Lacy to preserve the issue. (City’s Mem. in Supp. of Mot. to Dismiss at 11 n.5, 24 & n.14, Dkt. No. 48.)



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defendant is liable for the misconduct alleged.” Adams v. City of Indianapolis, 742 F.3d 720, 728

(7th Cir. 2014) (quoting Iqbal, 556 U.S. at 678). Having resolved the City’s standing challenges,

the remaining claims are: the § 1983 Takings Clause claim against the City arising from the

City’s purported failure to provide additional notice prior to selling or disposing of impounded

vehicles; claims against the City alleging that its failure to provide the requisite two notices

violates state and local law; and a claim for unjust enrichment against both the City and URT.

               A.      Takings Clause

       Lacy asserts that the City violated the Fifth Amendment’s Takings Clause by sending one

notice following its impoundment of her vehicle, rather than the two notices required by the

MCC and Illinois law. Due to its failure to send her a second notice, Lacy argues that the City

lacked authority to dispose of her vehicle without also providing just compensation.

       The Fifth Amendment’s Takings Clause provides that private property shall not “be taken

for public use, without just compensation.” U.S. Const. amend. V. Accordingly, “[w]hen the

government physically takes possession of an interest in property for some public purpose, it has

a categorical duty to compensate the former owner.” Tahoe-Sierra Pres. Council, Inc. v. Tahoe

Reg’l Plan. Agency, 535 U.S. 302, 322 (2002). To state a claim for a violation of the Takings

Clause, a plaintiff must allege “(1) that the governmental entity ‘took’ [her] property, either

through a physical taking or through unduly onerous regulations; (2) that the taking was for a

public use; and (3) that, no matter what type of property (real or personal) was taken, the

government has not paid just compensation.” Conyers v. City of Chicago, 10 F.4th 704, 710–11

(7th Cir. 2021).4



4
 The Takings Clause was incorporated against the States by the Fourteenth Amendment. Kelo v. City of
New London, 545 U.S. 469, 472 n.1 (2005).



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       Lacy’s vehicle was first immobilized and then impounded under MCC section 9-100-120.

Under MCC section 9-100-120(f), the City is required to send out a notice of impoundment

informing the vehicle’s owner that “if the vehicle is not claimed within 21 days from the date of

notice, the vehicle may be sold or otherwise disposed of in the manner prescribed by Section 4-

208 of the Illinois Vehicle Code.” MCC § 9-100-120(f). The referenced provision of the Illinois

Vehicle Code, in turn, provides, in relevant part:

       In cities having a population of more than 500,000 [i.e., Chicago], whenever an
       abandoned, lost, stolen, or unclaimed vehicle, or vehicle determined to be a
       hazardous dilapidated motor vehicle . . . remains unclaimed by the registered
       owner, lienholder or other legally entitled person for a period of 18 days after notice
       has been given . . . if during that 18 days the possessor of the vehicle has sent an
       additional notice by first class mail to the registered owner, lienholder, or other
       legally entitled person, the vehicle shall be disposed . . . to a person licensed as an
       automotive parts recycler, rebuilder, or scrap possessor under Chapter 5 of this
       Code.

625 ILCS 5/4-208(a) (emphasis added). Lacy asserts that MCC section 9-100-120(f) pertains

only to the manner of notice but does not actually authorize the disposal of impounded vehicles.

She points to MCC section 9-92-100 as the provision providing for such authority. Using similar

language to 625 ILCS 5/4-208(a), section 9-92-100(a) states:

       Whenever an abandoned, lost, stolen, or other impounded motor vehicle, or a
       vehicle determined to be a hazardous dilapidated motor vehicle . . . remains
       unclaimed by the registered owner, lienholder or other person legally entitled to
       possession for a period of 18 days after notice has been given . . . if, during that 18-
       day period, the department of police or department of streets and sanitation has sent
       an additional notice by first class mail to the registered owner, lienholder, or other
       legally entitled person, the superintendent of police or commissioner of streets and
       sanitation shall authorize the disposal or other disposition of such unclaimed
       vehicles as provided in this section . . . .

MCC § 9-92-100(a). Like 625 ILCS 5/4-208(a), MCC section 9-92-100(a) mandates that the

City issue two notices to a vehicle’s owner before it may sell or dispose of that vehicle.

According to Lacy, by failing to supply her with an additional notice following the initial notice




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of impoundment, the City effected a taking for which just compensation was required when it

proceeded to dispose of her vehicle and fully retain the benefits.

        In the Walker case, discussed above, this Court determined that the City’s failure to

provide a second notice before disposing of an impounded vehicle stated a Takings Clause claim.

Walker, 2022 WL 17487813, at *3–5. Most of the City’s arguments here simply rehash the

arguments that this Court previously rejected in its ruling on the Walker motions to dismiss, and

the City has given no reason for the Court to reconsider those issues.5 Briefly summarized, the

Court agreed in Walker that MCC section 90-100-120(f) only addressed the “notice requirements

regarding towing and impoundment of vehicles for ticket debt,” whereas the relevant procedures

for actually disposing of impounded vehicles are determined by reference to MCC section 9-92-

100. Id. at *6. The Court was not persuaded that MCC section 90-100-120(f) superseded section

9-92-100(a)’s two-notice requirement, observing that section 90-100-120(f) instructs that notice

under that provision should warn the vehicle’s owner that failure to claim their vehicle would

result in the vehicle’s disposal pursuant to 625 ILCS 5/4-208(a), and that provision includes a

two-notice requirement. Id.

        Consistent with the Supreme Court’s ruling in United States v. Bennis, 516 U.S. 442

(1996), this Court found that the City’s legislative scheme for disposing of impounded vehicles

was not facially unconstitutional. Walker, 2022 WL 17487813, at *4. Bennis recognized that

“[t]he government may not be required to compensate an owner for property which it has already

lawfully acquired under the exercise of governmental authority other than the power of eminent

domain.” Bennis, 516 U.S. at 452. And, in Walker, this Court found that the City’s vehicle



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  The City concedes that the Court’s decision in Walker rejected most of their arguments and they raise
them here only for preservation purposes.



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forfeiture scheme was not facially unconstitutional under the Takings Clause because it

constituted the type of forfeiture process that Bennis determined was “firmly fixed in the punitive

and remedial jurisprudence of the country.” Id. at *4 (citing Bennis, 516 U.S. at 453). Turning to

the plaintiffs’ challenge to the manner in which the City carried out the vehicle disposal process,

this Court emphasized that Bennis held only that the Takings Clause does not apply where the

government “lawfully acquired [the property] under the exercise of governmental authority other

than the power of eminent domain.” Id. at *5 (quoting Bennis, 516 U.S. at 452). By contrast, the

Walker plaintiffs alleged that “Defendants unlawfully acquired vehicles by taking and disposing

of them without providing required notices.” Id.

         Because the Walker plaintiffs “sufficiently pleaded the City’s failure to comply with the

two-notice requirement,” this Court determined that their Takings Clause claim based on the

City’s allegedly unlawful acquisition and disposal of their vehicles was not precluded by Bennis.

Id. Further, the Court determined that the City took the plaintiffs’ vehicles for a public use

because the sale proceeds generated revenue for the City’s operations and none of those proceeds

were used to pay down the owners’ debts. Id. Consequently, the Walker plaintiffs stated a

Takings Clause claim based on the City’s disposal of their vehicles without providing them with

a second notice. Id. The Court’s analysis in Walker applies equally to Lacy’s Takings Clause

claim.

         The City does highlight two cases not previously discussed in connection with the Walker

motions to dismiss. Specifically, the City argues that the Court’s holding in Walker cannot be

reconciled with the Supreme Court’s statement in Lingle v. Chevron USA Inc., 544 U.S. 528, 543

(2005), that “if a government action is found to be impermissible—for instance because it fails to

meet the ‘public use’ requirement or is so arbitrary as to violate due process—that is the end of




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the inquiry. No amount of compensation can authorize such action.” Thus, the City contends that

this Court’s determination that its acquisition of the Walker plaintiffs’ vehicles was unlawful

necessarily means that it cannot have been a taking.

        As an initial matter, the Court notes the “heads I win, tails you lose” nature of the City’s

Takings Clause argument. On one hand, if the City provides two notices, it lawfully acquires the

vehicle under a forfeiture process and there is no taking for which just compensation is required.

On the other hand, if the City does not provide two notices, it unlawfully acquires the property

and there is no taking for which just compensation is required.

        In any case, the City interprets Lingle more broadly than warranted. Lingle involved a

challenge to a regulatory taking6 and the statement on which the City relies was made in the

course of rejecting a regulatory takings test under which the existence of a taking necessitated an

inquiry into whether the regulation “substantially advance[s] legitimate state interests.” Id. at

540, 543. The Supreme Court explained that such a test entailed an inquiry into “the regulation’s

underlying validity,” which it deemed improper in the takings context because “the Takings

Clause presupposes that the government has acted in pursuit of a valid public purpose.” Id. at

543. This Court does not believe that the portion of Lingle cited by the City has any relevance

here, where there has been a direct physical appropriation of private property of which the City

has put to a public use. See Tahoe-Sierra Pres. Council, 535 U.S. at 323 (“Th[e] longstanding

distinction between acquisitions of property for public use, on the one hand, and regulations

prohibiting private uses, on the other, makes it inappropriate to treat cases involving physical




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  As opposed to a direct government appropriation or physical invasion of private property, a regulatory
taking refers to a regulation of property that “goes too far.” Lingle, 544 U.S. at 537–38 (internal quotation
marks omitted).



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takings as controlling precedents for the evaluation of a claim that there has been a ‘regulatory

taking,’ and vice versa.” (footnote omitted)).

            Further, that the City sold or disposed of Lacy’s vehicle without properly adhering to the

procedures mandated by state and local law does not establish that the City’s interference with

her property was impermissible. The two-notice requirement is the culmination of the City’s

vehicle forfeiture scheme, which constitutes an exercise of its police power. Walker, 2022 WL

17487813, at *4–5. Where an impounded vehicle’s owner has received two notices but not

claimed their vehicle after 21 days, the owner has forfeited their property rights in the vehicle.

Id. at *4. At that point, the City may do what it wants with the property without any obligation to

compensate its former owner. Cf. Cerajeski v. Zoeller, 735 F.3d 577, 581 (7th Cir. 2013) (“Of

course the state can take abandoned property without compensation—there is no owner to

compensate.”). Yet, without the second notice, forfeiture has not been perfected and any action

taken by the City is outside the scope of the forfeiture scheme. This is what the Court meant

when it spoke of the City “unlawfully acquiring vehicle[s] by taking and disposing of them.” Id.

at *5. The City’s failure to follow the legally mandated procedures of its forfeiture scheme

precludes it from claiming that it disposed of Lacy’s vehicle pursuant to its police powers.

Without any other source of authority allowing the City to acquire Lacy’s vehicle permanently,

the City’s disposal of her property and subsequent public use of the proceeds was a taking. See

Cedar Point Nursery v. Hassid, 594 U.S. 139, 147 (2021) (“The government commits a physical

taking . . . . when the government physically takes possession of property without acquiring title

to it.”).

            The City also contends that this Court should reconsider its ruling in Walker in light of

the Fifth Circuit’s decision in Lafaye v. City of New Orleans, 35 F.4th 940 (5th Cir. 2022), which




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concluded that there was no Takings Clause claim in what the City claims were factually

analogous circumstances. Specifically, in Lafaye, the plaintiffs alleged that New Orleans

implemented an automated traffic enforcement system that a state court later ruled to be void ab

initio. Id. at 942. As a result of the state court’s ruling, the plaintiffs were entitled to a

reimbursement of the fines imposed under that system. After the fines were not returned, they

brought suit in federal district court, alleging that New Orleans’s retention of the fines

constituted a taking. The Fifth Circuit disagreed. Citing much of the same language in Lingle as

relied upon by the City here, the Fifth Circuit found no taking because “New Orleans exacted

money using an enforcement power that was later deemed ultra vires.” Id. at 943.

        This Court finds Lafaye to have limited persuasive authority as applied to the

circumstances here. The key factor distinguishing Lafaye is that, given the later state court

ruling, New Orleans at no point had the legal authority to acquire the plaintiffs’ money.

Moreover, the Fifth Circuit was troubled by the “logical contradiction” inherent in the plaintiffs’

legal theory:

        [The plaintiffs] advance two propositions: The taking did not arise until the moment
        the [state court] judgment became final, and it arose only because the money was
        initially taken with no claim of right. Both contentions are necessary—to relitigate
        the initial extraction of fines under [the traffic enforcement system] would raise
        serious res judicata concerns, while fixating on the city’s failure to return the
        money would turn all money judgments against governments into takings. But in
        their attempt to avoid those pitfalls, the plaintiffs find themselves trying to have
        their cake and eat it too. They conceive of the city as “taking” their money in 2019,
        even when that money had been in the city’s possession since 2010 at the latest.
        And they insist that the city’s conduct from 2008 to 2010 was necessary to effect a
        taking that did not actually arise until 2019. Such a theory sits uneasily with a linear
        conception of time and is not rooted in the text of the Fifth Amendment.

Id. at 943–44. In Lafaye, New Orleans made a permanent claim to the fines that it collected

pursuant to a system that, years later, was deemed to be void from the start.




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        By contrast, here, there is no question that the City lawfully took temporary possession of

Lacy’s car until it exercised a permanent claim to that property without providing the two notices

that were preconditions to doing so. Such a taking proceeded linearly—absent the second notice,

the taking was effected the instant that the City permanently deprived Lacy of her property. See

Conyers v. City of Chicago, No. 12-CV-06144, 2020 WL 2528534, at *10 (N.D. Ill. May 18,

2020) (“Nothing in Bennis or the other cases relied on by the City suggests that there can be no

compensable taking when the state deprives a property owner of all rights to property as to which

the state has only temporary custody.”), aff’d, 10 F.4th 704 (2021).

        Like the plaintiffs in Walker, Lacy has adequately stated a Takings Clause claim based on

the City’s failure to provide two notices before selling or disposing of her impounded vehicle.

The Court therefore denies the City’s motion to dismiss Count VII.

                B.      MCC and Illinois Vehicle Code

        In addition to her Takings Clause claim based on the City’s failure to comply with the

two-notice requirement, Lacy also seeks to assert claims under MCC section 9-92-100(a) and

625 ILCS 5/4-208(a), the respective local-ordinance and state-law provisions imposing that

requirement. Neither provision expressly creates a private right of action. Nonetheless, Lacy

urges the Court to find in each an implied private right of action available to those aggrieved by

the City’s failure to provide two notices before disposing of their vehicles.

        In the absence of an express right of action, it is well-established in Illinois that

sometimes it is proper for a court to find “that a private right of action is implied in a statute.”

Metzger v. DaRosa, 805 N.E.2d 1165, 1168 (Ill. 2004). A court may find an implied right of

action when:

        (1) the plaintiff is a member of the class for whose benefit the statute was enacted;
        (2) the plaintiff’s injury is one the statute was designed to prevent; (3) a private
        right of action is consistent with the underlying purpose of the statute; and (4)


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       implying a private right of action is necessary to provide an adequate remedy for
       violations of the statute.

Fisher v. Lexington Health Care, Inc., 722 N.E.2d 1115, 1117–18 (Ill. 1999). All four factors

must be satisfied before a private right of action will be implied. 1541 N. Bosworth Condo. Ass’n

v. Hanna Architects, Inc., 196 N.E.3d 1108, 1116 (Ill. App. Ct. 2021). In addition, “[a] court

should use caution in implying a private right of action because, in doing so, it is assuming the

policy-making authority more appropriately exercised by the legislature.” Helping Others

Maintain Env’t Standards v. Bos, 941 N.E.2d 347, 363 (Ill. App. Ct. 2010).

       The Court does not believe that a private right of action can be implied with respect to

either MCC section 9-92-100(a) or 625 ILCS 5/4-208(a) for two reasons. First, the Court does

not believe that plaintiffs like Lacy are within the class for whose benefit the statute was enacted.

“In interpreting legislative enactments, courts must read the statute as a whole, not as isolated

provisions.” Fisher, 722 N.E. 2d at 1119; see also Stern v. Great W. Bank, 959 F. Supp. 478, 484

(N.D. Ill. 1997) (“[T]he statute should be interpreted as a whole, looking at every relevant

section in relation to other sections.”). Viewed in the context of the broader statutory scheme,

625 ILCS 5/4-208(a) is but one provision within a statute setting out procedures for

governmental actors to follow when removing and disposing of abandoned vehicles. It is meant

to regulate governmental action with respect to abandoned vehicles, rather than to redress

wrongs inflicted against their owners. Moore v. Lumpkin, 630 N.E.2d 982, 996 (Ill. App. Ct.

1994) (“[I]n determining whether a private right of action should be implied, it is proper to ask

whether the statute is remedial, i.e., does the statute seek to redress wrongs against individuals

who are harmed because the statue is violated.”).

       The two-notice requirement is a means of providing due process for the registered owners

of the vehicle and, as such, confers upon them an incidental benefit; at the same time, that



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process also ensures that title over the vehicle is effectively transferred to the state or

municipality. See Cretella v. Azcon, Inc., 214 N.E.3d 178, 188 (Ill. App. Ct. 2022) (“Where a

particular provision of a statute provides incidental benefits to one class but does so in order to

benefit the primary class for whose benefit the statute was enacted, no private right of action will

be implied in favor of the class provided such incidental benefits.”). Likewise, MCC section 9-

92-100(a) plays a similar role within an ordinance authorizing the City to open and maintain

automobile pounds.

        Second, implying a private right of action is not necessary to provide a remedy for the

City’s failure to comply with the two-notice requirement, as demonstrated by Lacy’s ability to

maintain a Takings Clause claim based on that failure. See Abbasi ex rel. Abbasi v.

Paraskevoulakos, 718 N.E.2d 181, 186 (Ill. 1999) (declining to imply a private right of action

where “a common law negligence action effectively implements the public policy behind the

Act” as “[t]he threat of liability is an efficient method of enforcing a statute”).

        In sum, Lacy cannot assert a claim under either MCC section 9-92-100(a) or 625 ILCS

5/4-208(a), as both lack an express right of action and neither is amenable to the implication of a

private right of action. Consequently, Counts II and III are dismissed with prejudice.

                C.      Unjust Enrichment

        Finally, Lacy asserts claims for unjust enrichment against both Defendants. The doctrine

of unjust enrichment provides relief where “the defendant has unjustly retained a benefit to the

plaintiff’s detriment, and that defendant’s retention of the benefit violates the fundamental

principles of justice, equity, and good conscience.” Siegel v. Shell Oil Co., 612 F.3d 932, 937

(7th Cir. 2010) (citing HPI Health Care Servs., Inc. v. Mt. Vernon Hosp., Inc., 545 N.E.2d 672,

679 (Ill. 1989)). However, “[u]nder Illinois law, there is no stand-alone claim for unjust

enrichment.” Benson v. Fannie May Confections Brands, Inc., 944 F.3d 639, 648 (7th Cir. 2019).


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Instead, “an unjust enrichment claim will stand or fall with related claims founded on the same

improper conduct.” Anderson v. Rush St. Gaming, LLC, No. 1:20-cv-04794, 2021 WL 4439411,

at *7 (N.D. Ill. Sept. 28, 2021) (internal quotation marks omitted).

        Just as the Court found in Walker, the viability of one of Lacy’s Takings Clause claims

against the City allows the related unjust enrichment claim to proceed as well. Walker, 2022 WL

17487813, at *7. On the other hand, unjust enrichment is the sole claim in the FAC asserted

against URT. The FAC sets forth no other, independent claim against URT, even though, in

Illinois, unjust enrichment is a “request for relief” that is “tied to the fate of” an independent

cause of action. Vanzant v. Hill’s Pet Nutrition, Inc., 934 F.3d 730, 740 (7th Cir. 2019). Lacy

cannot save her unjust enrichment claim against URT by piggybacking onto the Takings Clause

claim asserted against the City. Like the Court found in Walker, Lacy has failed to plead that

URT was the “moving force” behind the taking because her allegations show that “URT is

implicated only in the towing and impoundment of vehicles, and [Lacy does] not adequately

allege that the towing and impoundment, standing alone, violated the Takings Clause.” Walker,

2022 WL 17487813, at *10.7 Thus, the unjust enrichment claim against URT stands alone in the

FAC. And since there is no standalone claim for unjust enrichment in Illinois, URT’s motion to

dismiss is granted.

                                           CONCLUSION

        For the foregoing reasons, the City’s motion to dismiss (Dkt. No. 42) is granted in part

and denied in part, and URT’s motion to dismiss (Dkt. No. 44) is granted. The claims against


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 In Walker, the plaintiffs were able to proceed with their unjust enrichment claim against URT because
one plaintiff adequately stated a declaratory judgment claim against both Defendants for not complying
with MCC section 9-92-100 and 625 ILCS 5/4-208’s two-notice requirement. Walker, 2022 WL
17487813, at *7. There is no similar declaratory judgment claim remaining in this case given Lacy’s lack
of standing to seek that relief.



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URT are dismissed, as are Counts IV, V, VI, VIII, and IX and the request for injunctive relief.

Counts II and III are dismissed with prejudice.


                                                       ENTERED:



Dated: March 31, 2024                                  __________________________
                                                       Andrea R. Wood
                                                       United States District Judge




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